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September 14, 2018

V,[A ELECTRONIC CASE FILING

Hon. A. Kathleen Tomlinson

United States Magistrate Judge
United States District Court ' EDNY
Eastern District of NeW York

100 Federal Plaza

Central Islip, NY 11722

Re! _ Nelson Quintam`lla, et al. v. Suonlk Paving Corp., et al.
Case No.l CV'09'5331 (SJF) (AKT)

Your Honori

This firm is counsel to all defendants in this action. We Write in connection
With the Court’s order of January 13, 2018 establishing a trial date of January 14,
2019. Unfortunately, this law firm and more specifically, trial counsel has a
previously scheduled conflict on January 16 and 17 resulting from an actual litigation
this firm is involved in. Additionally, We have been advised that the principles of
Defendant are scheduled to be out of the state through the month of March 2019. We
therefore, respectfully request that the trial date be adjourned to any time after the
last day of l\/Iarch 2019.

We thank the Court for consideration of this application and remain available
should Your Honor require additional information in connection With this

submission.

Respectfully submitted,

  
   

ZABELL & ASS l

cc: lan F. Wallace, Esq. (uia Electronic Case Filing)
Clients

